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                          UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                              BROWNSVILLE DIVISION


UNITED STATES OF AMERICA and               )
THE STATE OF TEXAS, ex rel.                )
DR. JOSÉ G. DONES,                         )            Civil Action No. 1:21-cv-181
                                           )
                                           )
                       Plaintiffs,         )
                                           )
    v.                                     )
                                           )
HARLINGEN MEDICAL CENTER                   )
L.P., DR. ERIC G. SIX, VALLEY              )
NEUROSURGEONS P.L.L.C.,                    )
MICHAEL GONZALES,                          )
NUERA MEDICAL L.L.C,                       )
and PRIME HEALTHCARE                       )
SERVICES, INC.,                            )
                                           )
                                           )
                       Defendants.         )



 STATE OF TEXAS’S STATEMENT OF INTEREST IN RESPONSE TO
DEFENDANTS’ MOTIONS TO DISMISS RELATOR’S FIRST AMENDED
                       COMPLAINT

          The State of Texas (“State” or “Texas”) files this Statement of Interest to

correct misstatements made in Defendants’ Motions to Dismiss1 regarding the



1
 Defendants Michael Gonzalez and NuERA Medical L.L.C.’s Motion to Dismiss Under Federal
Rules 12(B)(6) and 9(B) (Dkt. 29); the Memorandum of Law in Support of Defendants Harlingen
Medical Center L.P. and Prime Healthcare Services, Inc.’s Motion to Dismiss Relator’s First
Amended Complaint (Dkt. 30-1); and the Memorandum of Law in Support of Defendant Dr. Eric
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proper legal interpretation of the Texas Medicaid Fraud Prevention Act

(“TMFPA”), chapter 36 of the Texas Human Resources Code. Texas retains an

interest in this matter as a named plaintiff state, even though it declined to

intervene.2 Dkt. 14. The State is entitled to a portion of any proceeds of the

TMFPA causes of action, and it has an ongoing interest in ensuring consistent and

correct interpretation of the TMFPA. Tex. Hum. Res. Code § 36.110(a-1). Texas

respectfully submits the following:

I.     The TMFPA differs substantially from the federal False Claims Act and
       the plain language of the TMFPA controls the interpretation of the
       Texas state law claims.

       Although similarities exist between the two statutes, the TMFPA does not

 mirror the federal False Claims Act (“FCA”). The elements required to establish

 liability under the TMFPA differ substantially from the FCA’s required

 elements. Compare 31. U.S.C. § 3729(a) with Tex. Hum. Res. Code § 36.002(1)-

 (13). As a result, the analysis of TMFPA claims is a distinct and separate analysis

 from the analysis required for an FCA claim.

        The analysis of a TMFPA claim requires the application of Texas law



Six, M.D. and Valley Neurosurgeons, P.L.L.C.’s Motion to Dismiss Relator’s First Amended
Complaint (Dkt. 31), (collectively, the “Motions to Dismiss").
2
  Texas’s declination in this matter is not a comment on the merits of the case. See Tex. Hum. Res.
Code § 36.104 (State’s declination is merely notice of the State’s decision whether to intervene.).
Rather, the TMFPA contemplates cases continuing in the event of Texas’s non-intervention by
conferring rights on relators and permitting relators to pursue TMFPA allegations after Texas
declines. See, e.g., Tex. Hum. Res. Code §§ 36.104, 36.110(a-1).
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because in matters involving state law, federal courts apply the same law that

would be applied by the highest court of that state. Howe ex rel. Howe v.

Scottsdale Ins. Co., 204 F.3d 624, 627 (5th Cir. 2000) (discussing Erie R. Co. v.

Tompkins, 304 U.S. 64 (1938)). In a case interpreting the TMFPA, the Texas

Supreme Court declared that “[s]tatutory language is the ‘surest guide to the

Legislature’s intent’ because ‘it is a fair assumption that the Legislature tries to

say what it means.’” In re Xerox, 555 S.W.3d 518, 527 (Tex. 2018) (citing

Prairie View A&M Univ. v. Chatha, 381 S.W.3d 500, 507 (Tex. 2012)). The

Texas Supreme Court continued that “the Legislature selected statutory words,

phrases, and expressions deliberately and purposefully and was just as careful in

selecting the words, phrases, and expressions that were included or omitted.” Id.;

see also City of Rockwall v. Hughes, 246 S.W.3d 621, 629 (Tex. 2008) (upholding

the plain language of a statute).

      Comparing the TMFPA to the FCA, among other statutes, the Texas

Supreme Court determined that “[t]hese statutes, while similar in aim and

tactic, employ materially different language . . .” In re Xerox, 555 S.W.3d at 535.

The differences, where they exist, between the FCA and the TMFPA are material

and must be carefully considered in applying Texas law to the specific facts of

every case, both in determining liability and in assessing appropriate civil

remedies. “[W]hen the Legislature looks to another jurisdiction’s statute, but


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modifies rather than adopts some of its provisions, it does so purposefully.”

Helena Chem. Co. v. Wilkins, 47 S.W.3d 486, 497 (Tex. 2001). A recent federal

case is illustrative of this point. In United States ex rel. Bawduniak v. Biogen

Idec Inc., the court found “that interpretation of the TMFPA . . . is guided by

Texas law.” United States ex rel. Bawduniak v. Biogen Idec Inc., No. 1:12-cv-

10601-IT, 2022 WL 2438971, at *3 (D. Mass. July 5, 2022).

      Federal courts in Texas also have declined to interpret the TMFPA as

identical to the FCA. The federal district court in United States ex rel.

Govindarajan v. Dental Health Programs, Inc., recognized that the scope of the

TMFPA “reach[es] a broader range of false or fraudulent conduct less closely

tied to the Medicaid claim submission process.” United States ex rel.

Govindarajan v. Dental Health Programs, Inc., No. 3:18-cv-00463-E, 2020 WL

3064712, at *7 (N.D. Tex. June 8, 2020) (citing United States ex rel. Patel v.

Catholic Health Initiatives, 312 F. Supp.3d 584, 606-07 (S.D. Tex. 2018), aff’d

sub nom. United States ex rel. Patel v. Catholic Health Initiatives, 792 F. App’x

296 (5th Cir. 2019)) (brackets in original). Citing Xerox, the Govindarajan court

noted that despite some similarities with the FCA, “the TMFPA’s plain language

controls with respect to claims brought under [the TMFPA]” and analyzed the

TMFPA unlawful acts alleged separately from the FCA claims. Govindarajan,

2020 WL 3064712, at *7-*14. Consequently, the claims asserted under the


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 TMFPA in this case must be analyzed according to the TMFPA’s plain language,

 especially where that language differs from the FCA.

II.    Relator is not required to plead the submission of false claims under the
       TMFPA to meet the particularity requirements of Rule 9(b).

        The plain language of the TMFPA does not require the submission or

 presentation of a “false claim” to establish liability for any of the unlawful acts

 asserted in Relator’s First Amended Complaint. Dkt. 18; Tex. Hum. Res. Code

 § 36.002(1), (4)(B), (9).

        Ignoring that the elements of the TMFPA causes of action do not mirror

 the FCA, the Motions to Dismiss each allege that Relator failed to meet the

 particularity requirements of Rule 9(b) for failure to plead the submission of false

 claims. Dkt. 29 at 20; Dkt. 30-1 at 19; Dkt. 31 at 4. For example, Defendants

 Michael Gonzalez and NuERA Medical L.L.C. argue that “Relator has not plead

 particularized facts to support that Moving Defendants submitted or caused

 actual false claims…nor reliable indicia that any false claim or statement was

 made or caused to be submitted by the Moving Defendants.” Dkt. 29 at 20. This

 argument is inapplicable to the Texas causes of action because, as noted above,

 the submission of “false claims” is not an element of any TMFPA unlawful acts

 alleged in this case. Whether a TMFPA unlawful act has been committed is based

 on the conduct covered in the statute, and the language of the statute governs


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    what must be proven. In re Xerox, 555 S.W.3d at 527, City of Rockwall v.

    Hughes, 246 S.W.3d at 629. The question of whether a false claim was presented

    or submitted is irrelevant to a Rule 9(b) particularity analysis of the TMFPA

    causes of action.

           As previously noted, the Govindarajan court held that “the TMFPA’s

    plain language controls with respect to claims brought under [the TMFPA]” and

    proceeded to analyze the TMFPA claims separately from the FCA claims.

    Govindarajan, 2020 WL 3064712, at *7. Defendants Gonzales and NuERA

    Medical’s Motion cites Govindarajan in support of the assertion that TMFPA

    claims are analogous to FCA claims but incorrectly focuses on the FCA

    requirement to plead submission of a false claim in arguing that the TMFPA

    claims be dismissed for the same reason as the FCA claims. Dkt. 29 at 20.

    Govindarajan does not stand for this proposition. The TMFPA unlawful acts

    must be analyzed separately from FCA claims.3


                                       CONCLUSION

          A review of the First Amended Complaint reveals that the TMFPA



3
  Defendants contend that Relator was required to plead they “willfully” violated the Federal Anti-
Kickback Statute. (42 U.S.C. § 1320a-7b(b)). However, neither the TMFPA nor the Texas Anti-
Kickback Statute impose the “willful” scienter standard required under the Federal Anti-Kickback
Statute. See Tex. Hum. Res. Code § 36.0011(a), Tex. Hum. Res. Code § 36.002(13) (incorporating
the Texas Anti-Kickback Statute at Tex. Hum. Res. Code § 32.039(b) by reference).
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unlawful acts pled by Relator do not require the presentment of a false claim to

establish liability. See Tex. Hum. Res. Code §§ 36.002(1), (4)(B), and (9).

Accordingly, a review of Relator’s TMFPA claims should be made solely in

consideration of the requirements and plain language of the TMFPA.



     Dated: July 31, 2023

                                     Respectfully submitted,


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                                    TEXAS




                       CERTIFICATE OF SERVICE

     I certify on July 31, 2023, a true and correct copy of the foregoing
document was served via the Court’s ECF system to all counsel of record.


                                              /s/ John Drake Anton
                                              John Drake Anton




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